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 1                                 UNITED STATES DISTRICT COURT
 2                                       DISTRICT OF NEVADA
 3                                                   ***
 4    EDWARD BUI and OPERTURE INC., a                          Case No. 2:21-cv-01772-JCM-EJY
      Nevada Corporation,
 5
                     Plaintiffs,                                            ORDER
 6
             v.
 7
      DEUTSCHE BANK NATIONAL TRUST
 8    COMPANY; SPECIALIZED LOAN
      SERVICING LLC, a Colorado Limited
 9    Liability Company’ SABLES LLC, a Nevada
      Limited Liability Company; DOES 1 through
10    20,
11                   Defendants.
12

13           Pending before the Court is Defendants’ Motion and Proposed Order to Extend Time to
14   Answer or Otherwise Respond to Plaintiffs’ Complaint. ECF No. 5.
15           On September 23, 2021, the Court entered an Order stating in pertinent part that: “Plaintiffs
16   shall file a Response to Defendants’ Motion and Proposed Order to Extend Time to Answer or
17   Otherwise Respond to Plaintiffs’ Complaint no later than September 30, 2021 explaining the basis
18   for Plaintiffs’ objection to the extension of time requested by Defendants.” ECF No. 6. As of the
19   date of this Order, Plaintiffs have not responded to the Motion or the Court’s Order. In the absence
20   of an opposition, the Court may treat Plaintiffs’ silence as consent to Defendants’ Motion. LR 7-
21   2(d).
22           Accordingly, IT IS HEREBY ORDERED that Defendants’ Motion to Extend Time to
23   Answer or Otherwise Respond to Plaintiffs’ Complaint (ECF No. 5) is GRANTED.
24           IT IS FURTHER ORDERED that Defendants’ responsive pleading to Plaintiffs’ Complaint
25   must be filed no later than October 25, 2021.
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 1          IT IS FURTHER ORDERED that Defendants shall ensure a copy of this Order is mailed

 2   (and, if available, emailed) to the last known addresses for Plaintiffs. Proof of service shall be filed

 3   by Defendants.

 4          Dated this 4th day of October, 2021.

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                                                                         STTRATE JUDGE
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